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      In The United States Court of Federal Claims
                                               No. 09-460L

                                      (Filed: March 8, 2013)
                                            __________

 DOUGLAS R. BIGELOW TRUST,
 JAMIE MORTENSON, et al.,
 On behalf of themselves and all other
 similarly situated persons,

                                 Plaintiffs,

                          v.

 THE UNITED STATES,

                                 Defendant.
                                                _________

                                                 ORDER
                                                _________

        On November 19, 2012, this court issued an opinion denying plaintiffs’ motion for partial
summary judgment and granting defendant’s cross-motion for partial summary judgment. In that
opinion, the court held that there was no takings of one of the parcels at issue, that owned by
Mary Lou Brady. On January 9, 2013, plaintiffs filed a motion to sever Ms. Brady’s claim under
RCFC 21. On January 28, 2013, defendant filed its response to plaintiffs’ motion, suggesting
that a better route would be to enter judgment on Ms. Brady’s claim under RCFC 54(b).

        The court believes that defendant is correct that the proper rule at issue here is RCFC
54(b). In granting final judgment under that rule, the court must exercise its discretion “in the
interest of sound judicial administration,” taking into account “judicial administrative interests as
well as the equities involved.” Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 8 (1980); see
also Intergraph Corp. v. Intel Corp., 253 F.3d 695, 699 (Fed. Cir. 2001). These same principles
apply in class actions. See Adams v. United States, 51 Fed. Cl. 57 (2001).

        Based on its review of this matter, the court concludes that the sound administration of
this case would not be promoted by issuing a separate judgment under RCFC 54(b) at this time.
Accordingly, plaintiffs’ motion, as modified by defendant’s response, is hereby DENIED.

       IT IS SO ORDERED.
                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
